                    Case 2:16-cv-01066-BSJ Document 664 Filed 09/07/18 Page 1 of 2




MINUTES OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH


JUDGE: Hon. Bruce S. Jenkins                                      COURT REPORTER: Ed Young
                                                                  COURTROOM DEPUTY: Kim Forsgren
                                                                  INTERPRETER: Not Needed



CASE NO. 2:16cvl066

Derive Power et al v. EZ Lynk SEZC et al
                                                                                          Approved By: _ _ __


                                               APPEARANCE OF COUNSEL
Pla         Michael Songer, Lara A. Swensen, Astor H. Heaven, Christine Hawes, Brent Hatch and Vincent Galluzzo
Dft         Arthur Berger, Samuel C. Straight - Power Performance Enterprises
Dft         Jared J. Braithwaite, Daniel R. Barber - Thomas Wood & Techit,
Dft         James T. Burton, Cameron M. Hancock - EZ Lynk SEZC,
Dft         George Russ Schultz, Jordon K. Cameron - GDP Tuning
Dft         Matthew D. Spring H&S Performance
Dft         Wesley D. Felix - Lance Hunter

DATE: 06/14/2018 Time Start: 10:00 a.m. to Break 11 :30 a.m. to Time Start: 1:30 p.m. And Time End 4:00 p.m.

MATTER SET: Continuation of Motion Hearing on all pending motions

DOCKET ENTRY:

            Counsel are present. The court hears oral argument on the pending motions. After discussion,
            the court takes the following motions under advisement.

            Motion [297] for Partial Summary Judgment filed by Techit and Thomas Wood., Motion [281]
            for Summary Judgment filed by GDP Tuning, Motion [314] for Summary Judgment filed by
            filed by Thomas Wood, Motion [303] for Summary Judgment filed by Defendant H&S
            Performance, Motion [300] for Summary Judgment filed by Techit, Motion [ 288] for Summary
            Judgement Re: Plaintiffs Trade Secret Claims filed by EZ Lynks, Motion [313] for Summary
            Judgment filed by Lance Hunter, Motion [280] for Summary Judgment filed by Defendant EZ
            Lynk SEZC, and Motion [284] for Summary Judgment filed by Defendant EZ Lynk SEZC .

           . The Court denied Motion [31 OJ for Summa1y Judgment filed by Plaintiffs Derive Power, Derive
             Systems. Remaining parties are to prepare and submit an order within 1 week.




Case Title: 2:16cvl066 Derive Power et al v. EZ Lynk SEZC et al                                             Page: 1
                     Case 2:16-cv-01066-BSJ Document 664 Filed 09/07/18 Page 2 of 2




            The court VACATED the 3 day Final Pretrial Conference Hearing set for June 18, 2018 and set
            the following Hearings:

            Final Pretrial Conference set for September 24, 25, & 26, 2018, at 10:00 a.m.
            Suggested form of Pretrial Order due to chambers nlt September 19, 2018
            Daubert hearing set for 7/18/2018, at 10:00 a.m. - Expert Robert Dezmelyk
            Daubert hearing set for 7/19/2018, at 10:00 a.m. - Expert Steven Loundon
            Daubert Hearing set for 8/1/2018, at 10:00 a.m. - Expert Ned S. Barnes -
            Daubert Hearing set for 8/2/2018, at 10:00 a.m. - Expert Gil Miller -
            Daubert Hearing set for 8/3/2018, at 10:00 a.m. - Expert Derk G. Ramussen




Case Title: 2: l 6cv1066 Derive Power et al v. EZ Lynk SEZC et al                                         Page:2
